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 6
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 8
 9                        UNITED STATES DISTRICT COURT
10          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
11
12   ISRAEL BARON, an individual,                   Case No.: 2:17-cv-8738
13
                  Plaintiff,                        COMPLAINT FOR:
14                                                  1. BREACH OF ORAL
15         v.                                          CONTRACT;
                                                    2. BREACH OF IMPLIED
16                                                     CONTRACT;
     TETRAGON, LTD, a foreign                       3. FRAUD;
17                                                  4. NEGLIGENT
     corporation; XTRMX LTD., a foreign                MISREPRESENTATION; and
18   corporation; MEHRDAD ANIFOR, a                 5. INENTIONAL
     foreign individual and DOES 1-100,                INTERFERENCE WITH
19                                                     ECONOMIC RELATIONS;
     inclusive,
20
21                Defendants.
                                                    DEMAND FOR JURY TRIAL
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23
24
25         Plaintiff ISRAEL BARON (“Plaintiff”) hereby alleges, by the undersigned
26   attorneys, upon personal information as to itself and upon information and belief as to
27   all other allegations as follows:
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                                         COMPLAINT
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 1                                     PARTIES/VENUE
 2          1.      At all times mentioned herein, Plaintiff was, and now is, an individual
 3   residing and doing business in the County of Los Angeles, State of California, in this
 4   judicial district.
 5          2.      Plaintiff is informed and believes and thereupon alleges that at all times
 6   herein mentioned, Defendants TETRAGON, LTD.; XTRMX LTD.; and MEHRDAD
 7   ANIFOR (collectively “Defendants”), were and are entities and/or individual
 8   residents of the State of Israel and Plaintiff, working on behalf of Defendants,
 9   engaged in doing business in the County of Los Angeles, State of California, in this
10   judicial district.
11          3.      Furthermore, the obligations herein and sued upon were made and
12   entered into in the County of Los Angeles, State of California, in this judicial district.
13          4.       Plaintiff does not know the true names and capacities of the Defendants
14   sued herein as Does 1 through 100, inclusive, and therefore sues such Defendants by
15   such fictitious names. Plaintiff will ask leave of the court to amend its complaint
16   when the true names and capacities of such fictitious names of Defendants are
17   ascertained.      Plaintiff is informed and believes and thereon alleges that such
18   fictitiously named Defendants are liable to Plaintiff for the facts and circumstances
19   herein alleged.
20          5.      Plaintiff is informed, believes and based thereon alleges, that at all
21   relevant times herein, Defendants, and each of them, were the agent, representative
22   and/or employee of each of the other Defendants, were acting within the course,
23   purpose and scope of their agency, representation and/or employment, and authorized
24   and permitted, consented to and/or ratified the alleged conduct of each of the other
25   Defendants.
26                              GENERAL FACTUAL ALLEGATIONS
27          6.      On or about February 20, 2017, Plaintiff and XTRMX, Ltd. (“XTRMX”)
28   proposed a plan of engagement, whereby Plaintiff was to be retained to represent

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 1   XTRMX business development in the U.S.
 2         7.     Plaintiff specializes in consulting, advising, business development and
 3   sales on behalf of companies looking to break into the technology and entertainment
 4   industry located in and around Los Angeles.        With over 30 years’ experience,
 5   Plaintiff’s network of contacts in these industries is wide and numerous.
 6         8.     In March of 2017, the parties further agreed that Plaintiff will travel to
 7   Israel to meet with XTRMX’s Board of Directors (the “Board”), who had to provide
 8   final approval prior to any engagement. After meeting with the Board during his visit
 9   to Israel, Plaintiff was given assurance regarding the financial strength of the
10   company from two (2) Board members, specifically Mehrdad Anifor and Eli Amram,
11   and each stated that “money is not an issue.” It was then unanimously confirmed by
12   the Board that Baron will be retained and represent XTRMX in the U.S. with the
13   objective of introducing XTRMX to potential customers, including setting up
14   multiple meetings at the April 22-27, 2017 National Association of Broadcasters
15   (“NAB”) show.
16         9.     On or about March 20, 2017, Plaintiff received his first monthly retainer
17   payment in the amount of sixteen thousand and 00/100 dollars ($16,000)(“Retainer”).
18   Upon receipt of the payment, Plaintiff sent XTRMX a long form agreement (the
19   “Agreement”) memorializing the agreed upon terms by and between Plaintiff and
20   XTRMX. Although he did not receive a signed copy in return, Plaintiff received an
21   email from XTRMX’s CEO, Oran Gilad, stating that the Retainer and commission
22   percentages in the agreement were agreed to by XTRMX. At this point, Plaintiff felt
23   comfortable enough in his relationship with XTRMX and its Board, that the formality
24   of executing the Agreement did not prevent him from moving forward with
25   preparations for the fast approaching NAB show. Thus, Plaintiff immediately began
26   reaching out to all his many contacts at major television and movie studios, post-
27   productions houses as well as strategic partners, that could help XTRMX gain major
28   market penetration.

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 1         10.     The NAB show went extremely well.         Plaintiff introduced and had
 2   XTRMX present their products to some of the largest brands in the industry
 3   including, but not limited to, Amazon, Avid, Adobe, Disney, Sony, Universal, etc.
 4   For all intents and purposes, both Plaintiff and XTRMX’s employees in attendance
 5   were absolutely thrilled with the outcome from the show.
 6         11.     Approximately a week thereafter, Plaintiff began making follow up
 7   meetings with each of the companies introduced to XTRMX at the NAB show. It
 8   was during this time that Plaintiff was shocked to learn that XTRMX’s first products,
 9   known as xView, was unavailable and not ready to be marketed and sold.
10   Unbeknownst to Plaintiff at the time, he soon discovered that xView was not
11   compatible with over 90% of the industries hardware. As Plaintiff would come to
12   learn, the existing software of xView was only compatible with a PC computer
13   operating system, as opposed to the most commonly used iOS system made by
14   Apple, Inc.
15         12.     It was at this time, that XTRMX’s timelines began to shift which created
16   a great amount of uncertainty about the viability of the company. Up until this point,
17   Plaintiff was led to believe that XTRMX had a product ready to go to market and that
18   sales shall commence immediately. However, since this was not the case, Plaintiff
19   was trying to adjust to this new reality and requested a new timeline for xView as
20   well as the other product presented at the NAB show, ediX.
21         13.     Accordingly, after multiple requests, XTRMX came back and provided
22   Plaintiff with a timeline of mid-June 2017 or approximately two (2) additional
23   months for finalizing xView. As for ediX, it was at least three (3) to five (5) months
24   thereafter. Moreover, during this time, the Board accused Plaintiff of not performing
25   his obligations when the real issues had to do with XTRMX’s engineers failure to
26   meet time lines and continued delays in product development.
27         14.     Although the odds stacked were against him, Plaintiff was still able to
28   secure XTRMX’s very first sale of any kind of its xView product to ColorTime

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 1   Pictures, Inc., a well-known post-production house in the entertainment industry.
 2         15.      Shortly thereafter, Plaintiff received his third, and what turned out to be
 3   his final, retainer payment on May 9, 2017. Since that time, XTRMX has made no
 4   further payments as required and previously agreed to by and between the Plaintiff
 5   and XTRMX. When Plaintiff inquired as to when he should expect to receive his
 6   June payment, Mr. Anifor and Mr. Gilad, both personally assured Plaintiff that his
 7   future payments would be honored and pleaded with Plaintiff to continue to work
 8   with XTRMX in the interim.
 9         16.      As a token of good faith, Plaintiff relied on Mr. Anifor and Mr. Gilad’s
10   words and continued to work on behalf of XTRMX. In fact, when Mr. Gilad visited
11   Los Angeles in July 2017, Plaintiff took the initiative to line up meetings with 21st
12   Century Fox, Amazon and Disney Studios.
13         17.      At the direction and request of both Mr. Anifor and Mr. Gilad, Plaintiff
14   has continuously worked for and on behalf of XTRMX. However, since May 9, 2017,
15   through the filing of this complaint, Plaintiff has not received any further Retainer
16   amounts due and owed from XTRMX.
17         FIRST CAUSE OF ACTION FOR BREACH OF ORAL CONTRACT
18                               (Against ALL Defendants and Does 1-100)
19         18.      Plaintiff realleges and incorporates by reference paragraphs 1 through
20   17, as though fully set forth herein above.
21         19.      Plaintiff and XTRMX entered into a working relationship whereby
22   Plaintiff agreed to work on behalf of XTRMX to market and sell XTRMX products
23   (Exhibit A).
24         20.      Upon information and belief on or about March 20, 2017, Plaintiff and
25   XTRMX entered into an agreement whereby Plaintiff agreed to sell XTRMX
26   products into the entertainment and media industry.
27         21.      Plaintiff has fully performed all obligations required of Plaintiff under
28   the Contract.

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 1         22.       XTRMX has inexcusably breached its obligations under the agreement
 2   and continues to breach the agreement by, among other things, failing to provide
 3   Plaintiff his monthly retainer fee for services rendered.
 4         23.      As a proximate result of these breaches of contract, Plaintiff has
 5   suffered, and will continue to suffer, actual, general and special damages in an
 6   amount to be proven at trial but which is in excess of $99,000.00 (Exhibit B).
 7   Plaintiff seeks compensation for all damages and losses proximately caused by these
 8   breaches.
 9    SECOND CAUSE OF ACTION FOR BREACH OF IMPLIED CONTRACT
10                         (Against ALL Defendants and Does 1-100)
11         24.      Plaintiff realleges and incorporates by reference paragraphs 1 through
12   23, as though fully set forth herein above.
13         25.      Plaintiff and XTRMX entered into a working relationship whereby
14   Plaintiff agreed to work on behalf of XTRMX to market and sell XTRMX products
15   (Exhibit A).
16         26.      Upon information and belief on or about March 20, 2017, Plaintiff and
17   XTRMX entered into an agreement whereby Plaintiff agreed to sell XTRMX
18
     products into the entertainment and media industry. XTRMX has inexcusably
19
     breached its obligations under the agreement and continues to breach the agreement
20
     by, among other things, failing to provide Plaintiff his monthly retainer fee for
21
     services rendered.
22
           27.      Plaintiff has fully performed all obligations required of Plaintiff under
23
     the Contract.
24
           28.      As a proximate result of these breaches of contract, Plaintiff has
25
     suffered, and will continue to suffer, actual, general and special damages in an
26
     amount to be proven at trial but which is in excess of $99,000.00 (Exhibit B).
27
     Plaintiff seeks compensation for all damages and losses proximately caused by these
28
     breaches.

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 1                      THIRD CAUSE OF ACTION FOR FRAUD
 2                       (Against ALL Defendants and Does 1-100)
 3         29.    Plaintiff incorporates by reference paragraphs 1 through 28 of this
 4   Complaint, as though fully set forth herein.
 5         30.    In or about June 2017, Plaintiff inquired as to why he had yet to receive
 6   his payment for June and both Mr. Anifor and Mr. Gilad assured Plaintiff that he
 7   would be paid. Previous to this particular discussion, Mr. Anifor informed Plaintiff
 8   that “money was not an issue” and that he will fund the company until XTRMX’s
 9   products go to market.
10         31.    Upon information and belief, Mr. Gilad provided a written response to
11   Plaintiff via email, specifically stated that Plaintiff would be paid and would also
12   receive commissions owed on executed deals. Mr. Gilad also specifically stated in an
13   email dated August 10, 2017, “Following XTRMX board-meeting from 8.8.2017:
14   Based on Israel’s mail from 8.3.2017, the board had discussed the manners to manage
15   the activities of the customers delivered by the US team in a fair manner. It was
16   decided that XTRMX shall ex-gratia honor the success-fee commission agreement
17   with Israel Baron, Bob Kisor & Andy Rosen, based on the February 25th email. Israel
18
     Baron’s 12%; Robert (Bob) Kisor: 7.5% (for the customers delivered by Bob); Andy
19
     Rosen: 7.5 % (for the customers delivered by Andy)…” (Exhibit C).
20
           32.    Based on representations made by Defendants that Plaintiff should
21
     continue to perform services and that payment will be forthcoming, Plaintiff agreed
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     to continue working and performing services for Defendants.
23
           33.    The aforesaid representations were material representations upon which
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     Plaintiff relied in agreeing to continue to work with Defendants. The representations
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     induced Plaintiff to continue reaching out to potential clients on behalf of Defendants.
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           34.    Plaintiff is informed and believes, and thereon alleges, that the
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     representations made by Defendants as alleged above, were false, and that
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     Defendants knew the representations were in fact untrue at the time they were made

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 1   and/or recklessly made the representations without knowing whether they were true
 2   or false, and that Defendants made the representations with the specific intention of
 3   concealing the true facts, and/or inducing reliance on the untrue facts, all for the
 4   purposes of furthering Defendants’ personal financial gain and interests.
 5         35.    When Defendants made the representations as hereinabove alleged, it
 6   did so with the intention to defraud and deceive Plaintiff with the intent to induce
 7   Plaintiff to continue to work and perform services on behalf of Defendants.
 8         36.    At the time the above representations were made by Defendants,
 9   Plaintiff was unaware of the falsity of Defendants’ representations, unaware of the
10   nature and extent and existence of Defendants’ concealed facts, unaware of
11   Defendants’ true intentions and believed them to be true.          In reasonable and
12   justifiable reliance upon those representations, Plaintiff continued and continues to
13   perform services on behalf of Defendants.
14         37.    As a proximate result of the false and fraudulent representations and
15   concealment by Defendants as hereinabove alleged, Plaintiff has been damaged in a
16   sum according to proof at the time of trial but which sum exceeds $99,000.00.
17         38.    Defendants’ false and fraudulent representations as hereinabove alleged
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     were made willfully, intentionally, and maliciously and in a conscious disregard of
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     Plaintiff’s rights, thus entitling Plaintiff to punitive damages pursuant to California
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     Civil Code § 3294.
21
     FOURTH CAUSE OF ACTION FOR NEGLIGENT MISREPRESENTATION
22
                          (Against ALL Defendants and Does 1-100)
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           39.    Plaintiff realleges and incorporates by reference paragraphs 1 through 38
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     above, as though fully set forth herein.
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           40.    In or about June 2017, Plaintiff inquired as to why he had yet to receive
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     his payment for June and both Mr. Anifor and Mr. Gilad assured Plaintiff that he
27
     would be paid. Previous to this particular discussion, Mr. Anifor informed Plaintiff
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 1   that “money was not an issue” and that he will fund the company until XTRMX’s
 2   products go to market.
 3         41.    Upon information and belief, Mr. Gilad provided written response to
 4   Plaintiff via email, specifically stated that Plaintiff would be paid and would also
 5   receive commissions owed on executed deals. Mr. Gilad also specifically stated in an
 6   email dated August 10, 2017, “Following XTRMX board-meeting from 8.8.2017:
 7   Based on Israel’s mail from 8.3.2017, the board had discussed the manners to manage
 8   the activities of the customers delivered by the US team in a fair manner. It was
 9   decided that XTRMX shall ex-gratia honor the success-fee commission agreement
10   with Israel Baron, Bob Kisor & Andy Rosen, based on the February 25th email. Israel
11   Baron’s 12%; Robert (Bob) Kisor: 7.5% (for the customers delivered by Bob); Andy
12   Rosen: 7.5 % (for the customers delivered by Andy)…” (Exhibit C).
13         42.    Based on representations made by Defendants that Plaintiff should
14   continue to perform services and that payment will be forthcoming, Plaintiff agreed
15   to continue working and performing services for Defendants.
16         43.    The aforesaid representations were material representations upon which
17   Plaintiff relied in agreeing to continue to work with Defendants. The representations
18
     induced Plaintiff to continue reaching out to potential clients on behalf of Defendants.
19
           44.    Plaintiff is informed and believes, and thereon alleges, that the
20
     representations made by Defendants as alleged above, were false, and that
21
     Defendants recklessly made the representations without knowing whether they were
22
     true or false, and that Defendants made the representations with the specific intention
23
     of inducing Plaintiff to rely on said representations to continue to provide services to
24
     market and sell Defendants’ products.
25
           45.    At the time the above representations were made by Defendants,
26
     Plaintiff was unaware of the falsity of Defendants’ representations, unaware of the
27
     nature and extent and existence of Defendants’ concealed facts, unaware of
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     Defendants’ true intentions and believed them to be true. In reasonable and

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  1   justifiable reliance upon those representations, Plaintiff continued and continues to
  2   perform services on behalf of Defendants.
  3         46.      As a proximate result of the false and fraudulent representations and
  4   concealment by Defendants as hereinabove alleged, Plaintiff has been damaged in a
  5   sum according to proof at the time of trial but which sum in excess of $99,000.00.
  6     FIFTH CAUSE OF ACTION FOR NEGLIGENT INTERFERENCE WITH
  7                        PROSPECTIVE ECONOMIC RELATIONS
  8                         (Against ALL Defendants and Does 1-100)
  9         47.      Plaintiff realleges and incorporates by reference paragraphs 1 through 46
 10   above, as though fully set forth herein.
 11         48.      Plaintiff has valid business relationships and business expectancies with
 12   the companies listed on the Contract (Exhibit A) and acknowledged by Defendants
 13   (Exhibit C).
 14         49.      Defendants knew or should have known that Plaintiff had these existing
 15   customer relationships.
 16         50.      Upon information and belief, Defendants are not a party to these
 17   previously established business relationships.
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            51.      Defendants have negligently intervened and interfered with Plaintiff’s
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      customer relationship, by misrepresenting to Plaintiff that they will continue to work
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      with and through Plaintiff, whenever corresponding with one of Plaintiff’s customers
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      which has caused Plaintiff to improperly perform his obligations.
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            52.      Defendants’ actions were intentional in that they knowingly made
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      misrepresentations that they knew would result in a breach or disruption of the
 24
      Plaintiff’s relationships.
 25
            53.      As a result of Defendants’ intentional interference with these
 26
      relationships, Plaintiff has been injured irreparably and otherwise, while Defendants
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      are unjustly enriched.
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  1         54.    If Defendants are not enjoined, Plaintiff will continue to be injured
  2   irreparably and otherwise.
  3                                          PRAYER
  4         WHEREFORE, Plaintiff prays for judgment as follows:
  5         1.     Enter judgment in favor of Plaintiff and against Defendants on all
  6   Claims for Relief.
  7         2.      Order Defendants to pay to Plaintiff the damages sustained by Plaintiff
  8   in excess of $99,000.00 as a result of Defendants’ unlawful acts;
  9         3.      Order Defendants to pay to Plaintiff punitive and/or treble damages for
 10   all claims for relief for which such damages are authorized;
 11         4.      Order prejudgment and post judgment interest at the maximum legal
 12   rate, as provided by the laws of California, as applicable, as an element of damages
 13   which Plaintiff has suffered as a result of the wrongful and illegal acts of Defendants;
 14         5.     Order Defendants to pay to Plaintiff restitution and/or repayment for all
 15   claims for relief for which restitution is authorized;
 16         6.     Order disgorgement of all improper benefits, profits and/or gains; and
 17         7.     Order such other relief as the Court deems just and equitable.
 18
 19   Dated: December 4, 2017                   LAW OFFICES OF JOSHUA M. FINE
 20
 21
                                                By: /s/ Joshua M. Fine
 22                                                Joshua M. Fine, Esq.
 23                                                Attorneys for Plaintiff
                                                   Israel Baron
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  1                             DEMAND FOR A JURY TRIAL
  2         Plaintiff ISRAEL BARON by and through his attorney, hereby demands,
  3   pursuant to Rule 38 of the Federal Rules of Civil Procedure, a trial by jury on all
  4   issues triable herein.
  5
  6   Dated: December 4, 2017                  LAW OFFICES OF JOSHUA M. FINE
  7
  8                                            By: /s/ Joshua M. Fine
                                                  Joshua M. Fine, Esq.
  9
                                                  Attorneys for Plaintiff
 10                                               Israel Baron
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                                           COMPLAINT
